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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      PIKEVILLE

JILLIAN STANDIFUR                              )
                                               )
       Plaintiff,                              )
                                               )
                                               )            CIVIL ACTION NO.
V.                                             )            7:13-93-ART
                                               )
                                               )
ENCORE CAPITAL GROUP, INC., et al.,            )
                                               )
       Defendants.                             )


                                NOTICE OF SETTLEMENT

       Comes now the Plaintiff, Jillian Standifur, through undersigned counsel, and hereby

notifies the Court that the parties have reached a resolution to all matters herein. The parties

have attached hereto a proposed settlement order, discontinuing this matter with prejudice.

       Respectfully submitted, this the 20th day of November, 2013.

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                               CERTIFICATE OF SERVICE

      This is to certify that a true copy of the foregoing was served via the Court’s ECF system
on November 20, 2013.

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